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                     EXHIBIT 5

              (Filed Under Seal)
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                       CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                    Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                    Defendant.


      -------------------------------------------x


                                    June 21, 2016
                                    9:17 a.m.


                       C O N F I D E N T I A L
            Deposition of JOSEPH RECAREY, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.
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                                                                 Page 106
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2          Q.     Do you remember speaking with a female by
 3    the name of                     ?
 4          A.     Yes.
 5          Q.     And is that -- did you learn from
 6           about                ?
 7                 MR. PAGLIUCA:      Object to form and
 8          foundation.
 9                 THE WITNESS:       That's correct.
10    BY MR. EDWARDS:
11          Q.     And what did you understand
12               interaction with Jeffrey Epstein to be?
13                 MR. PAGLIUCA:      Object to form and
14          foundation.
15                 THE WITNESS:                   was allegedly
16          dating Jeffrey Epstein at the time.            And
17          and           were roommates.
18                 During that time,             had met with
19          and went shopping with her at the Palm Beach
20          Mall, where they purchased items from
21          Victoria's Secrets.
22                 After spending the day together, they went
23          over to the Palm Beach house, where Epstein
24          requested to see what was purchased.            She was a
25          little reluctant initially, but because of the
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                                                                 Page 107
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2            fact that it was his money that purchased the
 3            items, she showed the outfit that she had
 4            purchased at Victoria's Secrets.         He had asked
 5            her to try it on, at which time she did.
 6                 She went back to the house at another
 7            time, where she was going to meet with
 8            and Epstein.    They went for a bike ride, but
 9                  had a massage, which Epstein walked in on
10          while she was getting a massage.
11                He asked her to turn over, expose her
12          breasts to him.       I think he performed a
13          chiropractic move on her.         And she was
14          completely uncomfortable with the whole
15          situation.
16    BY MR. EDWARDS:
17          Q.    Did you ever attempt to interview
18          ?
19          A.    I'm trying to recall.         I believe I may
20    have.     I just -- off the top of my head, I can't
21    remember whether I did or didn't.
22          Q.    Okay.    At some point in time did you
23    encounter Alan Dershowitz?
24                MR. PAGLIUCA:      Object to form and
25          foundation.
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                                                                 Page 365
 2
 3                         CERTIFICATE OF OATH
 4    STATE OF FLORIDA          )
 5    COUNTY OF MIAMI-DADE )
 6
 7                   I, the undersigned authority, certify
 8       that JOSEPH RECAREY personally appeared before me
 9       and was duly sworn.
10                   WITNESS my hand and official seal this
11       24th day of June, 2016.
12
13
                             KELLI ANN WILLIS, RPR, CRR
14                           Notary Public, State of Florida
                             My Commission No. EE911443
15                           Expires: 2/16/16
16               + + + + + + + + + + + + + + + + + +
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